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The following constitutes the ruling of the court and has the force and effect therein described.



Signed September 20, 2021
                                           United States Bankruptcy Judge
______________________________________________________________________



                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                      FORT WORTH DIVISION

     In re:                                          §
                                                     § Case No. 21-42215-MXM
     FLEXIBLE FUNDING LTD.                           §
     LIABILITY CO.,                                  § Chapter 11
                                                     §
              Debtor.                                §

                          ORDER GRANTING REQUEST FOR EMERGENCY
                        CONSIDERATION OF CERTAIN “FIRST DAY” MATTERS

              CAME ON FOR CONSIDERATION the Request for Emergency Consideration of Certain

     “First Day” Matters [Docket No. 6] (the “Motion”) filed by Flexible Funding Ltd. Liability Co.

     (the “Debtor”). Pursuant to the Motion, the Debtor requests an emergency hearing on the

     following motions:

              (1)   Debtors’ Motion for Entry of an Order Pursuant to Rule 1015(b) of the
                    Federal Rules of Bankruptcy Procedure Directing Joint Administration of
                    Cases for Procedural Purposes Only [Docket No. 4] (the “Joint
                    Administration Motion”); and

              (2)   Debtors’ Emergency Motion for Entry of Interim and Final Order
                    Authorizing the Use of Cash Collateral and Granting Adequate Protection
                    [Docket No. 5] (the “Cash Collateral Motion”).




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Upon consideration of the Motion, the Court finds that the relief requested is warranted and in the

best interests of the Debtor, its estate, and its creditors. Therefore,

        IT IS HEREBY ORDERED THAT:

        1.      The Motion is GRANTED as set forth herein.

        2.      A hearing will be conducted on the Joint Administration Motion and the Cash

Collateral Motion on Monday, September 20, 2021, at 2:15 p.m. (prevailing Central Time),

before the Honorable Edward L. Morris, U.S. Bankruptcy Court. The hearing will be conducted

by WebEx videoconference at the following WebEx address:

                        https://us-courts.webex.com/meet/morris

Those who will not be seeking to introduce any evidence at the hearing and who wish to attend

the hearing in a telephonic only mode may attend in the WebEx telephonic only mode using the

WebEx dial-in and meeting ID below:

                        Dial-In: 1.650.479.3207
                        Meeting ID: 473 581 124

        3.      Counsel for the Debtor is directed to provide telephonic notice of the hearing to all

secured creditors who will be affected by the Cash Collateral Motion and to the Office of the

United States Trustee and to otherwise provide notice of the hearing by the most expedient means

to all other affected parties in interest.

        IT IS SO ORDERED.

                                    # # # END OF ORDER # # #




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